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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                 NORTHERN DIVISION


CHRISTINA HAGAN,                               )
                                               )
              Plaintiff,                       )
                                               )
       V.                                      )           No. 2:20-CV-48 RLW
                                               )
CITY OF HANNIBAL, HANNIBAL                     )
BOARD OF PUBLIC WORKS,                         )
                                               )
              Defendants.                      )

                                   ORDER OF DIMISSAL

       In accordance with plaintiffs Notice of Voluntary Dismissal,

       IT IS HEREBY ORDERED that the Clerk of the Court shall make an entry in the docket

record reflecting the dismissal of Plaintiffs claims against Hannibal Board of Public Works with

prejudice.




                                                   ~/r~
                                               RONNIE L. WHITE
                                               UNITED STATES DISTRICT JUDGE



Dated this ~ a y of April, 2021.
